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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-02702-RM-SKC

  KATELYN SCHILLER,

  Plaintiff,

  v.

  THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY
  SYSTEM, et al.,

  Defendants.


       RESPONSE TO [149] PLAINTIFF’S MOTION TO EXTEND DISCOVERY
                               DEADLINES


         Defendant Board of Governors of the Colorado State University System,

  acting by and on behalf of the Colorado State University (“CSU” or “the

  University”), submits this response to Plaintiff’s Motion to Extend Discovery

  Deadlines [149], and states as follows:

         1.     Plaintiff has repeatedly stated to the Court that she has not received

  electronically stored information (“ESI”) from the University in response to her

  discovery requests. This is simply untrue. The University has produced 466 pages of

  ESI. See Resp. [116] Pl.’s Mot. Compel Produc. [122]. In total, the University has

  produced approximately 1,500 pages of documents to Plaintiff.

         2.     The University has also implemented the searches set forth in the

  parties’ Joint Proposed ESI Protocol [127-1]. These searches returned over 500,000



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  results. After conferral, Plaintiff submitted a narrower search to the University,

  which resulted in over 100,000 results. Plaintiff has now submitted a third set of

  parameters that the University is running.

        3.     While discovery proceeded, the United States Supreme Court issued its

  sea change opinion in Cummings v. Premier Rehab Keller, P.L.L.C., 142 S.Ct. 1562,

  on April 28, 2022. The Supreme Court ruled that private claimants under Spending

  Clause statutes, including Title IX, may not recover punitive or emotional distress

  damages. Id. Stated differently, a Title IX plaintiff is now limited to actual

  damages.

        4.     Plaintiff has only identified $417.60 in actual damages. See Pl.’s Objs.

  Resps. Def.s’ Collective Written Disc. Pl. Regarding Damages, Exhibit A, p.6. The

  actual damages are a direct result of ending her employment with Defendant

  Ovation Food Services. Plaintiff does not claim any actual damages resulting from

  the actions of the University.

        5.     As the Court is aware, discovery must be “proportional to the needs of

  the case,” which includes consideration of “the amount in controversy.” Fed. R. Civ.

  P. 26(b)(1). The University does not object to an extension of case deadlines, but any

  additional discovery should be limited as proportional to the needs of this case.

  Given the amount in controversy, a digital fishing expedition is simply not

  warranted.

        Respectfully submitted this 18th day of May, 2022.




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                           CERTIFICATE OF SERVICE

        I certify that I served the foregoing RESPONSE TO [149] PLAINTIFF’S

  MOTION TO EXTEND DISCOVERY DEADLINES upon all parties herein by

  filing copies of same using the ECF System, this 18th day of May, 2022 addressed

  as follows:

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                                              /s/ Jennifer Davis-Weiser




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